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                       UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF MISSOURI
                             KANSAS CITY DIVISION

 In Re

 Alan Bailey Craine, Jr.,                        Case No. 18-40338-can7
          Debtor.
                                                 Chapter 7
 Wells Fargo Bank, N.A.,
          Movant.                                MOTION FOR RELIEF FROM THE
                                                 AUTOMATIC STAY
 v.
                                                 MOTION WAIVES 30 DAY HEARING
 Alan Bailey Craine, Jr.,
          Debtor,                                Kozeny & McCubbin, LC
                                                 12400 Olive Blvd., Suite 555
 and                                             St. Louis, MO 63141
                                                 wdmo@km-law.com
 Jerald S. Enslein, Trustee.
           Respondents.

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                              (REAL PROPERTY)

              Wells Fargo Bank, N.A. (“Movant”) hereby moves this Court, pursuant to

11 U.S.C. § 362, for relief from the automatic stay with respect to certain real property of

the Debtor having an address of 732 Ley Street, Excelsior Springs, Missouri 64024 (the

“Property”). In further support of this Motion, Movant respectfully states:

         1.   A petition under Chapter 7 of the United States Bankruptcy Code was filed

with respect to the Debtor on February 7, 2018. The Court has jurisdiction over this

matter pursuant to 28 U.S.C. Sections 151, 157 and 1334 and the Automatic Reference

Order of the United States District Court for the Western District of Missouri dated

August 15, 1984. This is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2).

Venue is proper in this District under 28 U.S.C. Section 1409(a).


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         2.     The Debtor, Alan B Craine, Jr., has executed and delivered that certain

promissory note in the original amount of $40,000.00 (the “Note”). A copy of the note is

attached hereto as Exhibit 1. Movant is an entity entitled to enforce the Note.

         3.     Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations

(collectively, the “Obligations”) of the Debtor, Alan B Craine and Co-Borrower, Cristi

Amber Marsch, under the Note and Deed of Trust with respect to the Loan are secured

by the Property. A copy of the Deed of Trust is attached hereto as Exhibit 2.

         4.     The legal description of the Property is set forth in the Deed of Trust, a

copy of which is attached hereto, and such description is incorporated and made a part

hereof by reference.

         5.     Debtor(s) executed a promissory note secured by a mortgage or deed of

trust. The promissory note is either made payable to Creditor or has been duly indorsed.

Creditor, directly or through an agent, has possession of the promissory note. Creditor is

the original mortgagee or beneficiary or the assignee of the mortgage or deed of trust.

         6.     Movant is the servicer of the loan.

         7.     As of April 11, 2018, the outstanding Obligations are:

    Unpaid Principal Balance                                                         $37,873.85
    Unpaid, Accrued Interest                                                           $557.02
    Uncollected Late Charges                                                              $0.00
    Mortgage Insurance Premiums                                                           $0.00
    Taxes and Insurance Payments on                                                       $0.00
    behalf of Debtor(s)
    Other Costs                                                                            $0.00
    Less: Partial Payments                                                               ($0.00)
    Minimum Outstanding Obligations                                                  $38,430.87
*Pre-petition principal balance is $37,873.85 and Pre-petition Interest is $203.38



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       8.     The following chart sets forth the number and amount of contractual

payments due pursuant to the terms of the Note that have been missed by the Debtor

as of April 11, 2018:

   Number of               From               To            Monthly           Total Amounts
   Payments                                                Payment               Delinquent
                                                            Amount
        3               02/01/2018     04/01/2018           $414.95               $1,244.85
                                   Less contractual partial payments:                ($0.00)
                                                                Total:            $1,244.85

       9.     Additionally, Debtor has filed his statement of intentions in which he/she

expresses his intent to surrender the Property, and Movant requests this Court take

judicial notice of the same.

       10.    The fair market value of the Property is $40,000.00. The basis for such

valuation is Schedule A/B of the Debtor`s Schedules. A copy of Schedule A/B is

attached hereto as Exhibit 3.

       11.    Upon information and belief, the aggregate amount of encumbrances on

the Property listed in the Schedules or otherwise known, including but not limited to the

encumbrances granted to the Movant, is $66,430.87.

       12.    Cause exists for relief from the automatic stay for the following reasons:

              (a)       Movant`s interest in the Property is not adequately protected.

              WHEREFORE, Movant prays that this court issue an Order terminating or

modifying the stay and granting the following:

              1.        Relief from the stay allowing Movant (and any successors or

assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to



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foreclose upon and obtain possession of the Property.

             2.      That the Order be binding and effective despite any conversion of

the bankruptcy case to a case under any other chapter of Title 11 of the United States

Code.

             3.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be

waived.

             4.      For such other relief as the Court deems proper.




                                          Respectfully submitted,

                                          /s/Jonathon B. Burford
                                          Jonathon B. Burford, #59337
                                          Dustin Stiles, #63272
                                          Attorneys for Movant
                                          12400 Olive Blvd., Suite 555
                                          St. Louis, MO 63141
                                          Phone: (314) 991-0255
                                          Fax: (314) 567-8019
                                          wdmo@km-law.com




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I certify that on the 20th day of April, 2018, a true and correct copy of the Motion for
Relief from Automatic Stay was served electronically via CM/ECF upon the following
parties:

Tracy L. Robinson
Attorney for Debtor
818 Grand Blvd., Suite 505
Kansas City, MO 64106

Jerald S. Enslein
Trustee
4435 Main Street
Suite 920
Kansas City, MO 64111-1945

Office of the US Trustee
U.S. Trustee
400 E. 9th St. Room 3440
Kansas City, MO 64106

NBKC Bank
Creditor
8320 Ward Parkway
Kansas City, MO 64114

And delivered via regular U.S. Mail on April 20, 2018 to:

Alan Bailey Craine, Jr.
Debtor
732 Ley Street
Excelsior Springs, MO 64024-1494

Cristi Amber Marsch
Co Borrower
732 Ley St
Excelsior Springs, MO 64024



/s/ Jessica Werner
    Jessica Werner




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                                  Exhibit 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Alan Bailey Craine, Jr.
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF MISSOURI

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B                                                                                   Exhibit 3
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        732 Ley Street                                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Excelsior Springs                 MO        64024-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                 $40,000.00                 $40,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Clay                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Clay County, Missouri lists this property as having an Appraised Value of
                                                                                $73,500.00. However, debtor has placed this property for sale and over a year
                                                                                and 4 months the highest offer received was $40,000.00.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $40,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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